 

AFFIDAVIT IN SUPPORT OF
AN APPLICATION FOR A SEARCH WARRANT

I, ]effrey Baker, a Special Agent With the Federal Bureau of lnvestigation, hereby
depose and state as folloWs:

INTRODUCTION AND AGENT BACKGROUND.

1. l make this affidavit in support of an application under Rule 41 of the
Federal Rules of Criminal Procedure for a search Warrant authorizing the examination
of property, a residential dwelling described in Attachment A, and the extraction from
that property of evidence described in Attachment B.

2. l am a Special Agent for the Federal Bureau of lnvestigation (FBI). I have
been an FBI Agent With the Southeastern Wisconsin Regional Gang Tasl< Force since
October of 2017 . l have received training in the investigation of drug trafficking l have
Worked With informants in the investigation of drug trafficking in the Milwaukee area. l
have participated in search Warrants, investigations, and arrests in Which controlled
substances and drug paraphernalia Were seized. l am familiar With the street names of
various drugs in the Milwaukee area including marijuana, heroin, and cocaine. l
am familiar With methods that are commonly used by drug dealers to package and
prepare controlled substances for sale in the Milwaukee area. Through my training and
experience, l know that drug dealers are not on a regular schedule and can conduct drug
deals at any time of the day.

3. . As a Special Agent, l have participated in the investigation of narcotics-
related offenses, resulting in the prosecution and conviction of individuals and the

seizure of illegal drugs, Weapons, stolen property, United States currency, and other

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7 . l know that drug traffickers often list their telephones in nominee names in
order to distance themselves from telephones that are used to facilitate drug trafficking;
and that drug traffickers frequently change phone numbers in an effort to thwart law
enforcement

8. l know that drug traffickers often use drug proceeds to purchase assets such
as vehicles, property, and jewelry. l also know that drug traffickers often use nominees
to purchase and / or title these assets in order to avoid scrutiny from law enforcement

9. The facts in this affidavit come from my personal observations, my training
and experience, and information obtained from other agents and witnesses This affidavit
is intended to show merely that there is sufficient probable cause for the requested
warrant and does not set forth all of my knowledge about this matter. The facts in this
affidavit come from my personal observations, my training and experience, and
information obtained from other agents and witnesses This affidavit is intended to show
merely that there is sufficient probable cause for the requested warrant and does not set
forth all of my knowledge about this matter. v

10. As detailed below, l believe that there is probable cause that located within
the following properties in the City of Milwaukee, further described in Attachment A,
are items that constitute evidence of drug trafficking, including violations of Title 21,
United States Code, sections 841 and 846.

IDENTIFICATION OF PREMISES AND VEHICLES TO BE SEARCHED

11. That affiant is requesting permission to execute a search warrant at the

following properties and vehicles:

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entrance apartment four is located on the second floor on
the east side of the apartment building. The entry door is
white and is the northern most door on the east side of the
apartment building

F. ' 3071A North 19th Street, Milwaukee, Wisconsin
The upper of a two-story duplex having yellow exterior
siding and a red-shingled roof. The number ”3071A” is
displayed in a horizontal fashion on the east side of the
house The entrance door to 3071A is a white door on the
south side of the building.

G. 3044 North Richards Street, Milwaukee, Wisconsin
The lower of a two-story duplex having white aluminum

siding with white trim and a brown-shingled roof. The
number ”3044" is displayed in a horizontal fashion to the
south of the west facing security gated front door.

H. 5800 North 91st Street, Northeast First Floor Apartment
Milwaukee, Wisconsin '
Multi~unit apartment complex having a tan brick exterior

with brown and white window trim and a red-shingled
roof; that ”5800" is displayed in a horizontal fashion above
the double white west facing front entry doors. The
entrance to the target location is located on the first floor
in the northeast corner of the apartment building. The
entry door is white and is located on the east side of the
apartment building and faces east. The entry door is the
northern most door on the east side of the building

I. Black 2013 Cadillac XTS, Wl registration 659~ZH,
VIN#2G61W5536D9220166, registered to Harris ]ames
Trust.

]. White 2014 Lincoln MKT, WI registration ACV~2418,
VIN#ZLMH]EATZEBLEMW, registered to ]asmine Grace
(Roderick Ramsey's Girlfriend).

12. The applied-for‘warrant would authorize the search and recovery of

evidence particularly described in Attachment B.

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' information corroborated by law enforcement through consensually recorded
conversations, controlled buys, and other`witness and law enforcement reporting

16. » In early 2017 and while inside of 2773A N. 41st Street, Milwaukee, Wl~, CSl
saw Harris packaging a half-kilo of heroin for sale, and s / he saw Harris use Dormin as a
cutting agent prior to its packaging

17. CSl identified ]ames Coleman, Kurt Parks, Roderick Ramsey, and Todd
McGown as heroin traffickers who purchased their heroin from Harris between ]anuary
2017 and April 2017. CSl also personally observed Roderick Ramsey, Harris’ nephew,
' deliver heroin to Coleman for sale.

18. CS1 further stated that Harris once called CSl and told him / her that Harris
was in Chicago picking up heroin from his source of supply.

19. In 2017, members of the FBI GTF, developed a confidential source
(hereinafter referred to as CS4). CS4’s information dates from ]anuary 2017 to the present.

20. For several reasons, case agents believe that CS4 is reliable and credible.
First, CS4 has been providing continuous information since approximately ]une of 2017.
Second, the information CS4 has provided is substantially against CS4’s penal interest
Third, the information provided by CS4 is consistent with evidence obtained elsewhere
in this investigation where CS4 was not utilized, and substantial portions of CS4's
information have been corroborated through independent investigation, including
surveillance and information from other sources. Finally, CS4 has had an adequate
opportunity to observe directly the events discussed and/ or has heard conversations

directly from the individuals discussed herein. 'CS4 is cooperating in exchange for

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24. CS4 also believes that Harris receives his heroin from a relative in Chicago z
because he heard Harris and Kurt Parks discussing that arrangement

25. In 2018, members of the FBI GTF developed a confidential source
(hereinafter referred to as CS6).

26. For several reasons, case agents believe that CS€) is reliable and credible
First, CS6 has been providing continuous information since April of 2018. Second, the
information provided by CS6 is consistent with evidence obtained elsewhere in this
investigation where CS6 was not utilized, and substantial portions of CS6’s information
have been corroborated through independent investigation, including surveillance and
information from other sources. Finally, CSé has had an adequate opportunity to observe
directly the events discussed and/ or has heard conversations directly from the
individuals discussed herein. CS6 is cooperating in exchange for credit towards CSo
pending criminal case.

27. CS6. stated s/ he had been purchasing heroin three times a week from a
subject s / he know as ”Rah Rah” since ]une/]uly of 2017 at 3044 North Richards Street,
Milwaukee, Wl, and at an apartment of the lower northeast corner of the an apartment
complex located at 5800 North 91st Street, Milwaukee, Wl. Case agents know ”Rah Rah”
to be Roderick Ramsey, who is james Harris nephew. Case agents showed CS6 a
Milwaukee Police Department booking photo of Roderick Ramsey, which CS6 positively
identified as the subject CS6 knows as ”Rah Rah."

28. CS6 stated that in May 2018, s/he observed ]ames Harris at Roderick

Ramsey's residence 3044 North Mchards Street, Milwaukee, VVI, when CS6 was

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Each time Harris purchased heroin, it was never less than a kilo. The FBI was able to
verify the identity of Stanley George and verified that Harris’ mother does reside in
Chicago. CS7 identified Adline Harris, l~larris’ wife, as a person who often transports
heroin from Chicago to Milwaukee for the Harris DTO.

32. ln 2018, members of the FBI GTF, developed a confidential source
(hereinafter referredto as CSS).

33. For several reasons, case agents believe that CSS is reliable and credible.
First, the information provided by CSS is consistent with evidence obtained elsewhere in
this investigation where CSS was not utilized, and substantial portions of CSS’s
information have been corroborated through independent investigation, including
surveillance and information from other sources Second, CSS has made statements to
case agents that are against his / her penal interests, in that CSS has admitted his/ her
involvement in the Harris DTO's activities in the past Finally, CSS has had an adequate
opportunity to observe directly the events discussed and/ or has heard conversations
directly from the individuals discussed herein. CSS is cooperating in exchange for
consideration in a pending criminal case.

34. CSS worked with'the Harris DTO from spring 2016 to spring 2017. CSS saw
Harris receive heroin from a Chicago source. CSS saw Harris package heroin almost every
day, and CSS saw Harris cut the heroin with Dormin. CSS assisted the packaging of
Harris’ heroin, and s / he said that Harris would receive approximately 2-3 kilos of heroin
every month. CSS saw james Coleman and Kurt Parks purchase heroin almost every day

from Harris - at times, Harris fronted the heroin to ]ames Coleman and Kurt Parks.

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through telephone records. Unless otherwise noted, the controlled buys and telephone
contacts summarized below were conducted pursuant to the above procedures
37. The below controlled buys are believed to be connected to members or
associates of the Harris DTO:
0 On April 22, 2017, the FBI GTF conducted a controlled buy of heroin
from james Coleman of 2.52 grams of heroin at 4200 W. Stark Street,
Milwaukee,
¢ On April 24, 2017, the FBl GTF conducted a controlled buy from
james Coleman of:4.3 grams of heroin at 1200 W. Garfield Avenue,
Milwaukee,
~ On May 12, 2017, the FBI GTF conducted a controlled buy from
james Coleman of 9.11 grams of heroin at 2655 N. 15th Street,
Milwaukee. During the controlled buy, james Coleman. The Cl stated
that Skinner was selling heroin to other buyers during the controlled
buy (this `was not captured on the recording).
'¢ On May 24, 2017, the FBI GTF conducted a controlled buy from
james Harris and Roderick Ramsey of 7.8 grams of heroin at 2773 N.
41st Street, Milwaukee, CSl called Harris who directed CSl to call
Roderick Ramsey to fulfill the request CSl called Ramsey who sold
the heroin to CS1.
¢ On july 21, 2017, the FBI'Task Force conducted a controlled buy

from Don Tillman of 2.2 grams of heroin at 2605 N. 26th Street,

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0 On April 12, 2018, FBI GTF conducted a controlled buy from Todd
McGown of 4.5 grams of heroin at 3110 North 35th Street, Milwaukee.
0 On April 17, 2018, FBI GTF conducted a controlled buy from Casey
johnson of 2.83 grams of heroin at 3069 North 29th Street, Milwaukee. b
During the controlled buy, CS4 spoke to Terry who said call his guy
”KC.”

0 On April 20, 2018, FBI GTF conducted a controlled buy from Casey
johnson of 4.87 grams of heroin at 3069 North 29th Street, Milwaukee,
0 On May 15, 2018, hBl GTF conducted a controlled buy from Antoine
jeff of 1.55 grams of heroin at 3261 North 30th Street, Milwaukee.

o 'On May 17, 2018, FBI GTF conducted a controlled buy from Todd
McGown of 4.5 grams of heroin at 3500 West' Fond Du Lac Avenue,
Milwaukee. l

¢ On l\/lay 21, 2018, FBI GTF conducted a controlled buy of heroin
from Roderick Ramsey of 1.02 grams of heroin at 2940 North 21st
Street, Milwaukee.

o Cn May 24, 2018, FBI 'GTF conducted a controlled buy of heroin
from Nequann Terry of 2.06 grams of heroin at 6016 North 61st Street,
Milwaukee. During the controlled buy, CS4 spoke with Harris and
Terry outside of 6016 North 615t Street, and at that time, Harris

directed Terry to ”Take care of that business.” Shortly after, CS4 and

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v Cn july 25, 2018, the FBI GTF conducted a controlled buy from
”Luther’f of 2.71 grams of heroin in the area of 3071 N 19th Street,
Milwaukee.
¢ C)n july 30, 2018, the FBI GTF conducted a controlled buy from
Roderick Ramsey of 0.58 grams of heroin in the area of 3044 North
Richards Street, l v

1815 1st Avenue, Grafton, Wisconsin

38. Agents of the FBI GTF believe that 1815 1st Avenue, Grafton, Wl, is
occupied by james Harris and his wife, Adline Harris; At the beginning of june 2018, CS4
alerted case agents that james Harris and Adline Harris moved from their residence
located at 9401 West Calumet Road #208, Milwaukee, WI, to a location in Grafton
Wisconsin On june 1, 2018, james Harris updated his Wisconsin Department of '
Corrections address to 1815 lst Avenue, Grafton, Wl (Harris is currently on active
Wisconsin Department of Corrections supervision). On june 14, 2018, both james Harri`s
and Adline Harris updated their Wisconsin Department of Transportation address to
1815 1st'Avenue, Grafton Wl. As of june 2, 2018, Adline Harris is the listed utilities
subscriber through WE Energies for 1815 1st Avenue in Grafton, Wl.

39. Through telephonic electronic surveillance( case agents placed james
Harris’ cellphone at 1815 1st Avenue in Grafton, Wl, more than 10 times since june 1,
2018, On july 24, 2018, case agents personally observed james Harris enter the residence
located at 1815 1st Avenue, Grafton, VVl.

40. Case agents know that james Harris has a history of keeping heroin at one

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Apartrnent #5 within the last 60 days. CS4 identified Terry as a current heroin dealer for
the Harris DTO who resides at and furthers heroin trafficking at 330 West Keefe Avenue,
Apartment #5, Milwaukee, WI.

46. CS4 stated that the entry door to Apartment #5 is barricaded. The
barricades consist of a horizontal 2x4 across the door and a 2x4 inserted into a floor
bracket which provides additional fortification. l know that from training and experience
that drug dealers use fortification in order to secure their residences from law
enforcement and others individuals attempting to gain access~to their residence

47. On February 17, 2018, Milwaukee police officers were dispatched to a
property damage complaint at 330 West Keefe, Milwaukee, WI. The caller stated that her
landlord was ”j. Harris” with a cellphone number of 414-595-7809. Case agent know this
to be one of james Harris’s cellphone numbers.

48. Based off electronic and physical surveillance, case agents have placed
james Harris at 330 West Keefe Avenue over 100 times, most recently on july 24, 2018, In
addition, case agents case agents have placed Nequann Terry at 330 West Keefe through
physical surveillance approximately 10 times, most recently on july 24, 2018.

49. Case agents also observed james Harris 2013 Cadillac XTS, with Wisconsin
license plate 659-ZHL parked at 330 West Keefe on over 25 occasions, most recently on '
july 25, 2018, Law enforcement verified that this vehicle is registered through Wl DOT to
james Harris Trust and used by Harris. Case agents have observed Harris driving the
Cadillac XTS over 20 times,

50. ln my training and experience as a federal agent, l know that it is a common

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0 On l\/lay 12, 2017, the FBI Task Force conducted a controlled buy `
from james Coleman of 9.11 grams~of heroin at 2655 N. 15th Street, t
Milwaukee. The CI stated that justin Skinner, Coleman’s son, was
selling heroin to other buyers during the controlled buy.

¢ On june 4, 2018, the FBI Task Force conducted a controlled buy from
james Coleman of .16 grams of heroin at 2655 N. 15th Street,
Milwaukee,

54. CS1, CS7, and CSS identified Colemanas a member of the Harris DTO.

55. CS1' stated that between january 2017 and April 2017, s/ he worked as a
heroin dealer for james Coleman out of 2655 N. 15th Street, Milwaukee, Wl.

56. CS4 identified Coleman as a current heroin dealer for the Harris DTO who
resides at 2665 North 15th Street, Milwaukee, Wl.

57. ln my training and experience as a federal agent, l know that it i's a common
for a drug trafficker's residence to contain evidence v of drug trafficking such as
contraband, proceeds, and records

3261 North 30th Street, Milwaukee, Wisconsin

58. Agents of the FBI GTF believe that 3261 North 30th Street, Milwaukee, Wl,
is occupied by Antoine jeff. jeff’s current address through the Wisconsin Departrnent of
Transportation, which he updated on l\/larch 25, 2014. The listed utilities describer
through WE Energies is Danielle Pinl<ston.

59. CS4 identified l<urt Parks' heroin workers as Don Tillman, Antoine jeff, and

Casey johnson CS4 saw Antoine jeff purchase a half-ounce of heroin from Harris

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#4, Milwaukee, Wl. The listed utilities subscriber through WE Energies is Mandisa
Dempsey.

66. q On May 16, 2017, l\/lilwaukee Police responded to 3110 North 35th Street
Apartment #4. The caller identified himself as Todd McGown. McGown stated that his
vehicle was stolen from the location.

67. On April 10, 2018, the FBI GTF conducted a controlled buy of heroin from
Todd McGown at 3110‘North 35th Street, Apartment #4. CS4 purchased 2.39 grams of
heroin with $200.00 in controlled buy money.

68. On April 12, 2018, FBI GTF conducted a controlled buy of heroin from Todd
McGown at 3110 North 35th Street, Apartment #4. CS4 purchased 4.5 grams of heroin
with $300.00 in controlled buy money. _

69. On l\/Iay 17, 2018, FBI GTF conducted a controlled buy of heroin from Todd
McGown in the parking lot across the street from 3500 West Fond Du Lac. CS4 purchased
4.5 grams of heroin with $300.00 in controlled buy money. This parking lot is
approximately 200 feet west of 3110 North 35th Street.

70. On july 25, 2018, the FBl GTF conducted a controlled buy from ”Herron” at
the direction of Todd»l\/chown. CS4 purchased 2.93 grams of heroin with $300.00 of
controlled buy money in the gangway to the south of 3043 North 35th Street, Milwaukee,
This location is approximately one block south 3110 North 35th Street

71. Case agents physically observed McGown in the alley adjacent to 3110
North 35th Street in early july 2018.

72. ln my training and experience as a federal tagent, l know that it is a common

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during the buy ”Luther” brought the controlled buy money into the house and gave it to
Marques~Williams.

77. bn july 12, 2018, the FBI GTF conducted a controlled buy from ”Luther" an
unknown black male at the direction of Marques Williams of 2.98 grams of heroin from
the alley directly across the street from 3071A North 19th Street, Milwaukee. CS4 stated
that during the buy ”Luther” got a portion of the heroin from 3071A North 19th Street.
At the conclusion of this controlled buy, case agents remained around the residence and
conducted surveillance on 3071 N 19th Street, Case agents witnessed several suspected
narcotics transactions The majority of the suspected narcotics transactions were done
with the suspected buyer in a vehicle doing a hand~to~hand transaction with the
suspected seller on a bicycle. lt should be noted that the two subjects on bicycles were
using hand signals and most cars were in the alley for less than a minute which case
agents know to be typical behavior for street level narcotics sales The most common
pattern that case agents witnessed was the driver of a vehicle would drive east on
Chambers Street, then drive northbound through the alley, and would exit out of the gas
station. Case agents»noted that the suspected narcotics transactions that were witnessed
were done either in the alley or on 19th Street. Case agents stated that on multiple
occasions they witnessed the black male wearing the blue baseball hat (case agents know
this to be ”Luther”) walk toward the residences on the west side of 19th 8treet.

78. On july 25, 2018, the FBI GTF conducted a controlled buy from ”Luther” an

unknown black male of 2.71 grams of heroin in the alley between 18th Street and 19th

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that her live-in boyfriend, Roderick Ramsey, struck her in the face several times with a
closed fist.

86. On Thursday March 29, 2018, DEA Agents were conducting surveillance on
3044 North Richards Street when they observed a male enter and exit the residence in a
short amount of time. Subsequently the male was arrested and questioned by law
enforcement The male indicated that he had been purchasing heroin from Roderick
Ramsey every two days for the last two months The male stated'that he has been at 3044
North Richards Street more than 20 times The male physically pointed out the address il
of 3044L North Richards as the location where he met Ramsey earlier that morning to
obtain heroin.

87. ln March 2018, case agents observed Ramsey exit 3044 North Richards ‘
Street and lock the Chicago gate behind him using keys

88. On july 3, 2018, case agents observed Ramsey in the doorway of 3044 North
Richards 5treet with an unknown black female.

89. On july 30, 2018, the FBI GTF conducted a controlled buy of heroin from
Roderick Rarnsey in the area of 3044 North Richards Street. During the recorded
cellphone call, Ramsey asked if CS6 was closer to 9lst Street or to Richards Street, CS6
informed Ramsey that CS6 was closer to 3044 North Richards Street - the heroin purchase
was arranged to take place atthat location. Case agents set up surveillance on 3044 North
Richards Street. A short time later, case agents observed Ramsey driving his girlfriend’s
white Lincoln MKT bearing license plate ACV-2418 drive southbound on North Richards

Street. Case agents observed Ramsey driving this vehicle approximately five times since

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Milwaukee, Wl,' and (2) 5800 North 91st Street, Milwaukee, WI. CS6 stated that 5800
North 91st Street is an apartment building CS6 would enter the back door to the
apartment into the kitchen. CS6 stated that the door to enter the apartment is the door
that is furthest north at the rear of the apartment building CS6 was unable to See what
apartment number is associated with the apartment due to entering the rear door.

93. On May 29, 2018, FBI GTF conducted a controlled buy of heroin from
Roderick Ramsey at 5800 North 91st Street, northeast 1st floor apartment which is the
northern most entry door on the east side of the building CS6 purchased 0.55 grams of
heroin for $60.00 in controlled buy money. CS6 stated that CS6 followed Ramsey to .the
western bedroom to conduct the controlled buy and observed a plate containing what
CS6 to be between 10-15 grams of heroin.

4 94. During a controlled buy on july 30, 2018, Ramsey asked CS6 if s / he was
closer to this location at 5800 North 91st Street or the location at 3044L North Richards
Street, The controlled buy ultimately occurred in the area of 3044 North Richards Street,

CONCLUSION

95. Based on the facts contained within this affidavit, case agents believe that
there is probable cause that james Harris, Adline Harris, james Coleman, Kurt Parks,
Nequann Terry, Roderick Ramsey, Todd l\/chown, Casey johnson, Don Tillman, Antoine
jeff, and Marques Williams are heroin traffickers Case agents further believe that there
is probable cause to search the aforementioned locations and vehicles for evidence
pertaining to the fruits, instrumentalities and proceeds of drug trafficking all of which

are detailed more specifically in Attachment B, items to be seized.

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flash memory cards or miniature hard drives Most digital cameras also include a screen
for viewing the stored images This storage media can contain any digital data, including
data unrelated to photographs or videos
` 99. IP Address: An Internet Protocol address (or simply ”IP address”) is a

unique numeric address used by computers on the lnternet An IP address is a series of
four numbers, each in the range 0-255, separated by periods (e.g, 121.56.97.178). Every
computer attached to the Internet computer must be assigned an lP address so that
Internet traffic sent from and directed to that computer may be directed properly from
its source to its destination Most lnternet service providers control a range of lP
addresses Some computers have static-that is, long-term¥lP addresses while other
computers have dynamic- that is, frequently changed-IP addresses

100. Internet: The lnternet is a global network of computers and other electronic
devices that communicate with each other. Due to the structure of the lnternet, 7
connections between devices on the lnternet often cross state and international borders
even when the devices communicating with each other are in the same state.

ELECTRONIC STORAGE AND FORENS_IC ANALYSIS

101. Based on my knowledge, training and experience, l know that electronic
devices can store information for long periods Similarly, things that have been viewed
via the Internet are typically stored for some period on the device. This information can
sometimes be recovered with forensics tools

102. There is probable cause to believe that things that were once stored on the

devices may still be stored there, for at least the following reasons

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106. Similarly, files that have been viewed via the Internet are sometimes
automatically downloaded into a temporary Internet directory or ”cache."

107. Forensic evidence. As further described in Attachment B, this application
seeks permission to locate not only electronically stored information that might serve as k
‘ direct evidence of the crimes described on the warrant, but also forensic evidence that
establishes how the devices were used, the purpose of its use, who used it, and when.
There is probable cause to believe that this forensic electronic evidence might be on the
devices because:

108.' Data on the storage medium can provide evidence of a file that was once on
the storage medium but has since been deleted or edited, or of a deleted portion of a file
(such as a paragraph that has been deleted from a word processing file). Virtual memory
paging systems can leave traces of information on the storage medium that show what
tasks and processes were recently active. Web b‘rowsers, e-mail programs and chat
programs store configuration information on the storage medium that can reveal
information such as online nicknames and passwords Operating systems can record
additional information, such as the attachment of peripherals, the attachment of USB
flash storage devices or other external storage media, and the times the computer was in
use. Computer file systems can record information about the dates files were created and
the sequence in which they were created.

l 109. Forensic evidence on a device can also indicate who has used or controlled
the device.' This ”user attribution” evidence is analogous to the search for ”indicia of

occupancy" while executing a search warrant at a residence

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does not involve the physical intrusion onto premises Consequently, l submit there is
reasonable cause for the Court to authorize execution of the warrant at any time in the

day or night

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the house. The entrance door to 3071A is a white door on the south side of the
building '

3044 North Richards Street, Milwaukee, Wisconsin
The lower of a two-story duplex having white aluminum siding with white trim

and a brown-shingled roof. The number ”3044” is displayed in a horizontal
fashion to the south of the west facing security gated front door.

5800 North 91st Street, Northeast First Floor Apartment Milwaukee, Wisconsin
Multi-unit apartment complex having a tan brick exterior with brown and white

.window trim and a red-shingled roof; that ”5800” is displayed in a horizontal
fashion above the double white west facing front entry doors The entrance to the
target location is located on the first floor in the northeast corner of the apartment
building The entry door is white and is located on the east side of the apartment
building and faces east The entry door is the northern most door on the east side
of the building

Black 2013 Cadillac XTS, Wl registration 659-ZH, VIN#2G61W5S36D9220166,
registered to Harris james Trust.

white ' 2014 .Lintoin MKT, wi registration . Acv-24is,
VIN#ZLl\/IHj5AT2EBL54470, registered to jasmine Grace (Roderick Ramsey’s
Girlfriend). '

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As used above, the terms ”records" and ”information” include all of the foregoing
items of evidence in whatever form and by whatever means they may have been created
or stored,` including any form of computer or electronic storage (such as hard disks or
other media that can store data),' any handmade form (such as writing drawing
painting),' any mechanical form (such as printing or typing); and any photographic form
(such as microfilm, microfiche, prints, slides, negatives, videotapes, motion pictures or
photocopies).

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